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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            CASE NO. 4:11CR196
                                                 §
MELVIN ANTONIO BENITEZ (26)                      §


  REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
             DENYING DEFENDANT’S MOTION TO SUPPRESS

       The Court has considered Defendant Melvin Antonio Benitez’s Motion to Suppress Oral

Statements (Dkt. 859), the motion having been referred by the Honorable Richard A. Schell (see Dkt.

865). After considering the evidence presented and the arguments of counsel, the Court finds that

the motion should be DENIED.

       In his less than two-page motion, Defendant argues that any statements taken from him, on

October 19, 2011, after his arrest in this matter, were obtained without an attorney present and that

they were thus taken in violation of his Fifth, Sixth and Fourteenth Amendment rights and should

be suppressed. Defendant argues that the statements were made as a the result of pressure or coercion

by the law enforcement agents and were therefore taken in violation of his right against self-

incrimination and right to counsel.

       The Fifth Amendment protects an individual’s right to be free from compelled self-

incrimination. Thus, the Government may use at trial only those confessions that are voluntarily

made. 18 U.S.C. § 3501(a); Malloy v. Hogan, 378 U.S. 1, 6, 84 S. Ct. 1489, 12 L. Ed.2d 653 (1964).




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In order for the Government to introduce Defendant’s statement, it generally must prove that the

accused voluntarily, knowingly and intelligently waived his Miranda rights. Miranda v. Arizona,

384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966). To prove a valid waiver, the Government must

show that the relinquishment of the defendant’s rights was voluntary and the defendant was fully

aware that the right was being waived and the consequences of waiving that right. Id.

       The Court held a hearing on Defendant’s motion on July 22, 2013. At the hearing, the

Government offered the testimony of Special Agent Mosezell Magee with the Federal Bureau of

Investigation, who assisted the lead investigator in the case by conducting an interview of Defendant

after his arrest. Defendant did not present any witnesses or evidence.

       Special Agent Magee testified that, on October 19, 2011, Defendant was arrested on an

indictment and brought to an FBI Dallas facility. Magee then conducted an interview with

Defendant in the presence of two FBI linguists who had participated in the case investigation.

       According to Magee, Defendant was interviewed in a smaller room containing a table and

chairs. Magee testified that Defendant was not handcuffed but was shackled during the interview.

Magee and the linguists were dressed in street clothes and were not armed while speaking with

Defendant.

       Magee testified that Defendant did not appear to be under the influence or any drugs or

narcotics at the time of the interview and appeared to understand what was happening. According

to Magee, Defendant did not make any requests for restroom or water breaks but facilities were

available to him near the interview room.




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       Magee testified that, at the beginning of the interview, he began reading Defendant his

Miranda rights from a standard form, but Defendant stopped Magee, indicating that he had already

been read his rights earlier that day. Magee showed Defendant a copy of the waiver form, and

Defendant acknowledged that he had previously read and signed a copy of that form.

       Magee conceded that he did not check to see if Defendant had actually signed a copy of the

Miranda waiver form. However, according to Magee, he knew that Defendant had a criminal history

and it was subsequently verified that, during an interview in an unrelated matter, Defendant had

previously been read his rights, received and read a copy of the Miranda waiver form, and signed

the waiver form. Based on Defendant’s actions, history and statements, Magee determined that

Defendant was aware of and had waived his rights.

       According to Magee, Defendant then told Magee that he wished to proceed with the

interview without an attorney present. Magee testified that no promises were made in exchange for

Defendant speaking with him.

       Magee proceeded to ask Defendant several questions and played Defendant several

recordings of previous phone conversations acquired through wiretaps on Defendant’s phone.

According to Magee, Defendant identified himself as one of the voices on the recordings. Defendant

also briefly described how he first became involved in narcotics trafficking, and denied filling

narcotics orders for Mexican drug cartels. Magee completed the interview and placed Defendant in

a holding area at the FBI Dallas facility. According to Magee, the interview lasted approximately

20 minutes.




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       Having considered the testimony presented, the Court finds that Defendant made a knowing

and voluntary waiver of his Miranda rights. The interview conditions were not coercive and nothing

about the testimony indicates that Defendant was coerced or threatened by law enforcement officers

during the interview. Defendant’s conduct and statement at the beginning of the post-arrest

interview indicated that he was aware of his rights, including his right to counsel and his right to

silence, and knowingly waived them. The Government has satisfied its burden of showing that

Defendant knowingly and voluntarily waived his rights and the Court finds that Defendant was fully

aware that the right was being waived and the consequences of waiving that right. Therefore, there

is no basis for suppression.

                                      RECOMMENDATION

       The Court recommends that the District Court DENY Melvin Antonio Benitez’s Motion to

Suppress Oral Statements (Dkt. 859).

       Within fourteen (14) days after service of the magistrate judge’s report, any party may serve

and file written objections to the findings and recommendations of the magistrate judge. 28

U.S.C.A. § 636(b)(1)(c).

       Failure to file written objections to the proposed findings and recommendations contained

in this report within the time period set forth above shall bar an aggrieved party from de novo review

by the district court of the proposed findings and recommendations and from appellate review of

factual findings accepted or adopted by the district court except on grounds of plain error or manifest




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    injustice. Thomas v. Arn, 474 U.S. 140, 148 (1985); Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

    Cir. 1988).

          SIGNED this 22nd day of July, 2013.

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                                                DON D. BUSH
                                                UNITED STATES MAGISTRATE JUDGE




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